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           EXHIBIT 6
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     re~oved their clothing down to their panties, Epstein lay on his
     s t o m a ~ and they provided a massage on his legs and feet area. I
     asked__      . if she had any formal massage training and she replied
     no. •-•■ advised she was topless and the panties she wore were the
     boy shorts lace panties. She and __       continued the massage until
     the last ten minutes of the massage, Epstein, told -       to leave the
     room so that -        could finish the massage.
           · __ got dressed and Epstein turned over onto his back. Epstein then
       removed the towel, which had been around his waist. Epstein laid
         er~ naked and requested that _·          7 rub his chest area .
       stated
       chest.
                  as she did this, Epstein, began masturbating as ~he rubbed hi~
                          stated he pulled down her boy short panties and he
       proau_c d..a: la.c..,g~-i~
                                ~ ~,t:ator- wi'Eh ..a a:1:::g.e~  She stated it was
       within a d awer in his master bathroom. He i::ubb~d the vibJ..p.tor p n h~r
       ~~gin~..Ji~--e   -       advised he never penetrated her vagina with ~he
       vibrator.
       He continued to rub her vagina with the vibrator as he continued to
       masturbate. -       stated she was very uncomfortable during the
       incident but knew it was almost over. ~pstein climaxed and started to 1
       remove himself from the table. He wipea himself with the towel he had
       on previo- sl and went into the shower area.          got dressed and
       met with       in the kitchen area. Epstein came into the kitchen and
       provided _     $200.00 for bringing         and paid $200.00 to - -
       for providing the massage.    ·    was told to leave her telephone
       number with Sarah, his assistant for future contact.          provided
       her cellular telephone number for future contact.          was asked
       if she was recently contacted about this investigation by anyone from
       the Epstein organization. She replied she was called but it was for
       work. She stated she was called by Sarah for her to return to work
       for Epstein.         stated work is the term used by Sarah to provide
       the massage in underwear.   _               I
                                         3.dvised she declined, as she was not
       comfortable in providing that type of work. The interview was
       concluded and the videotape was placed into evidence.
       Investigation Continues ..

****************************NARRATIVE        # 16 **************************
NA                    Reported By: RECAREY, JOSEPH                  11/10/05
                      Entered By.: ALTOMARO, NICKIE A.              11/10/05
       On November 7, 2005, I made telephone contact with                 who
       advised she would be able to meet with me at her home. Det. Sandman
       and I traveled to her home in                   nd made contact with
                  During a sworn taped statement,   ~      stated she met
       Jeffrey Epstein through Haley Robson. Robson would approach females
       who wished to work for him.     _     stated she was asked to work for
       him but declined.    _      explained that work means give massages.
       She was asked about any formal training in providing massages to which
       she said no . ■•-- said she accompanied Robson and other females
       who were taken to Epstein s house to provide massages . _ _                     ..J • • _




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     further stated she had been to the house approximately 4 or 5 times in
     the past year. She accompanied Robson with
                                   the 14-year-old victim, and
     Each time the girls were taken over, t h ~ e v i o u s l y t o l d ~
     w·~ ~~~- have to provide a massage, possib               . It was also told that
     shou d Epstrein require them to do anything extra and they were not
     c~in~grtable _judst$t o te1 lfhim andh h 7 wouhld bstop. ht.ii      r stated
     RoEson receive      2 00 . 0 0 or eac gir1 s e roug          over to massage
     Jeffrey Epstein. When I asked which girl appeared to be the youngest,
     she replied, the victim, as she stated she was fifteen years old at
     the most; she looked really young.           -        further stated each time
     she went to the house, she sat in the kitchen and waited with Robson
     until the massage was over . She further stated that the cook would
     make lunch or a snack for them as they waited.            I asked her if there
     was anything that caught her attention within the home.
     stated there were a lot of naked girls in photographs throughout the
     house. The interview was concluded and the tape was turned into
     evidence.

         Investigation Continues . .

****************************NARRATIVE                         # 17 **************************
NA                                    Reported By: RECAREY, JOSEPH                   11/10/05
                                      Entered By. : ALTOMARO, NICKIE A.              11/10/05
         Det. Dawson and I attempted contact with
         -        I left my business card at her front
         returned my call and arranged a meeting with me at the Palm Beach
         Police Department for November 8, 2005 . At approximately 2:00pm,
                  arrived at the Palm Beach Police Department. She was brought
         into the interview room and the door was closed for privacy. She was
          told that I appreciated her coming to the police station for
         questioning regarding an on going investigation. She was told that I
         was investigating a crime involving Jeffrey Epstein and knew, based on
          the investigation, that she had encrnmters with him in the past.
         During a sworn taped statement,           I
                                            •~~~t stated she had met Epstein
                                                       1



         approximately two years ago . She was first introduced to Epstein by
         Haley Robson. Robson approached her about working for Epstein and
         providing a massage to him for $200 . 00. The arrangements were made
         and as Robson could not take her the day the arran ements were
                       took · - -         I __
                                             also attended
         School and was familiar with Epstein.

     -           recalled she was brought there and entered through the back
         kitchen door . She had met with an assistant Sarah and another
         assistant Adrianna. Sarah brought her upstairs as she observed
         several photographs of naked females throughout the house.
         stated Epstein came in the room, wearing only a towel, and laid on the
         table.    _: _____ stated he picked out the oils he wanted her to use and
         requested she remove her clothing to provide the massage.       -
         stated that on the first massage she provided she did not remove her
         clothing.             stated she had returned several times after that.


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     Each time she returned more things happened.                       stated that the
     same thing would happen. Epstein would walk into the master
     bedroom/bathroom area w e ~ l y a towel. He would masturbate as
     she provided a massage . ~ stated she was unsure if he climax~d
     as he masturbated under the towei         Additionally she never looked blow
     h is waist. She claimed that Epstt in would convince her to remove her
     clotnes ." She eventually removed her clothes and stayed in her thong
     panties. On occasion, Epstein would use a massager/vibrator, which i
     she described as white in color with a large head , on her. Every time
     she provided a massage he would masturbate .                      added ~he has no
     formal training in providing a massage.                       tated she brought
     two females.during her visits to provide massages. ~                             he
     brought a girl named
     High School.
                                 1---and         - ·-.:: ---- -'from ~
                             __ 1stated she received $200.00 for each girl she
     brought. Additionally, Pentek was given $200.00 for taking her in the
     very beginning. The interview was concluded and the tape was placed
     into evidence .
     Investigation continues ...


****************************NARRATIVE          # 18 **************************
NA                    Reported By: RECAREY, JOSEPH                    11/13/05
                      Entered By . : ALTOMARO, NICKIE A.              11/14/05
                  8, 2005, I made telephone contact with
                  a~ her residence.       _    responded t o t e
       or       erview reference an ongoing investigation. At approximately
     2:30 pm, she arrived at the Palm Beach Police Station and was brought
     into the interview room for the interview . The door was closed for
     privacy and she was told that I appreciated her cooperation in this
     case. During a sworn taped statement,                       I 'I
                                                          stated she had met
     Jeffrey Epstein approximately one year ago., She was approached by a
     subject known to her ~ _.,          5:1'
                                          n      - - had asked her if she wanted
                                              ....
                                                                                       1
     to make money providin massae'ii' to Epstein. -             had heard that
     several girls from                       High School were doing this apd
     making money. J,She agreed and was taken to the house by · - -          ·· - , ..
     had introduced her to Sarah and Epstein and brought her upstairs to a
     master bedroom and Master bathr oom where a massage table was prepared
     and the proper oils were taken out.        ____ _ left the room and waited
     downstairs for I   · I ____ __ stated Epstein entered the room wearing a
     towel and she provided a massage wearing only her thong panties.
      •    advised Epstein had masturbat ed every time she provided a
     massage .• She stated Epstein continued to masturbate until he
     climaxed; once that occurred the massage was over. She felt the whole
     situation was weird but she advised she was paid $200.00 for providing
     the massage. She also stated .... :.:. received $200. 00 for bring .         · to
     Epstein.
           stated she had gone a total of 15 times t q his res idence to
     provide a massage and things had escalated from just providing a
     massage. Epstein began touching her on her buttocks and grabbed her


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     closer to him as he masturbated . Epstein also grabbed her breasts and
     f ~ ndled her breast with his hands as she provided the massage.
     stated on one occasion, h ~ offered extra monies to have vaginal
     intercourse. She stated this all occurred on the massage table.
       ___ __ .stated Epstein penetrated her vagina with his penis and began
     having intercourse with her until he reached the point of climax :•
     Epstein removed his penis from her vagina and climaxed onto the
     massage table.            received $350.00 for her massage . I asked her
     if she had any formal training in providing massages,           stated she
     did not.
       _ ____ continued to state on one other occasion, Epstein introduced his
       assistant, Nada, into the massage. Nada was brought into room with
           · to provide a massage . Epstein had them kiss and fondle each
       other around the breasts and buttocks as they provided a massage to
       Epstein. Epstein, watched and masturbated as this occurred . On other
       occasions, Epstein, introduced the large white vibrator/massager ,
       during the massage . Epstein stroked the vibrator/massager on
       vagi na as she provided the massage,.

   -          stated the last time she spoke with anyone at the house, was
       with Sarah during the weekend of October 2 or 3, 2005 .          · stated
       she had brought two people to the Epstein house. She provided the
       names of -       -    ·     I
                                 and - .., ____ (unknown last name) . It should
       noted,    ~ --· had been previously identified as - _ -            1 and had
       been previously interviewed. The interview was concluded and the
       videotape was placed into evidence via the locker system.
       On November 9, 2005, Sgt Frick and I traveled to 6791 Fairway Lakes
       Drive in Boynton Beach, Florida in hopes to interview Juan Alessi, the
       former houseman of Epstein's home . As no one was home, a business
       card was left for him to return my call . We then traveled to 11349 SW
       86th Lane in Miami in hopes to interview Alfredo Rodriguez, a former
       house man of Epstein. We did not locate them at home. I left a
       business card for him to return my call.

       We then traveled to                  nd met with Dean of Students, Mr.
       Turner . We requested to speak with                      ; was re
       interviewed, as she still was in possession of the rental car that
       Epstein had acquired for her.        stated that Sarah, Epstein's
       assistant, had called her on her cellular telephone and informed her
       that rental was extended for her. Sarah stated she had paid an
       additional $625.00 for her to keep the rental an extra month .
       was asked if she had any additional contact with either Epstein or
       anyone from his organization.        stated she did not, other than
       the telephone call informing her that she could keep the car for an
       extra month -       did not provide any additional information.

       On November 10, 2005, at approximately 9:47 am, Alfredo Rodriguez . had
       telephoned reference my business card found on his door . Rodriguez
       stated he had worked with Epstein for approximately six months after
       the previous houseman left. Rodriguez stated that it was his    I


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    ~esponsibil,tty t-o. keep the identity of the masseuses private. \ Mr.
     Epstein had a massage in the morning and one in the afternoon . Mr.
     Rodriguez stated he would rather speak about this in private. He
     advised he would come to the police station to speak with me.
     Rodriguez stated he would return my call on Monday, November 14, 2005.

     I then made telephone contact with Juan Alessi. He advised he found
     my card on his door and wanted to know what I needed to speak with him
     about. I explained to Alessi that I was conducting an investigation
     on h i s former employer, Mr . Epstein. Alessi stated he would return my
     call shortly as he was in the middle of a project at his home. I
     received a telephone call from Attorney Donald Morrell from 686-2700.
     Mr. Morrell stated he represented Mr . Alessi and did not want me
     speaking with his client. I then made telephone contact with the
     State Attorneys Office and confirmed that subpoenas would be issued
     to the former empl oyees to assist in the investigation.

     I then made telephone contact with Attorney Guy Fronstin, attorney for
     Mr. Epstein . I explained to Mr. Fronstin that I would like to speak
     with Mr. Epstein. He stated Mr. Epstein is not in residence in
     Florida at this time and would check with him to ascertain if he could
     be here by Wednesday November 16, 2005 for an interview . Mr. Fronstin
     stated he would return my call should Mr. Epstein decide to come in to
     the police station for an interview.
     Investigation continues.

****************************NARRATIVE                    # 19 **************************
NA                              Reported By: RECAREY, JOSEPH                    11/15/05
                                Entered By . : ALTOMARO, NICKIE A.              11/16/05
                           , Det. Sandman and I traveled to
                            Florida and spoke with                       She was
                           investigation involving ' ps              ll!llllil•••
     she had gone to the house on several occasions. During a sworn taped
                                                                         advised
     statement, she advised she started going to the house approximately
     one year ago and was brought by - -      · ~ (Unknown last name).   ~
     stated - -  -~- brought her into the house and she was introduced to a
     girl named Sarah. Once she met her, Sarah brought her upstairs into a
     master bedroom bathroom.      ~   · · , stated she met Jeffrey in the
     bathroom. He lay on the table and picked the massage oils. She
     provided the massage, as he lay naked on the massage bed. She stated
     she rubbed his calves and back area. Upon the end of the massage,
     Epstein removed himself from the massage table and paid her $300.00
     for the massage.

              stated she had only been at the house approximately five or
     six times. - -~      said each time she went to the house she was
     notified by Sarah, Epstein's assistant, that Epstein was in town and
     would like her to work. ~-~ - - · stated she returned to the house and
 ~           n led upstairs by Sarah. She provided the massage, clothed.
 -            advised it wasn t really weird until later on.    _   · · - was


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     asked if she ever removed her clothing to provide a massage. ~
     stated it was not until the third time she went that she remo~
     clothing.          •       stated she was notified by Sarah that Epstein
     wanted her to come to work. She arrived at the house and was led
     upstairs by Sarah. She started providing the massage when Epstein
     as~d-hax....t.o.-x::.emov~ her--el-othing-:-- -          removed her pants, shirt
     and bra. She stayed- in-aer-tl:heng-panties-and continued rubbing
     Epstei~                n turned ove~ ont o his back and she rubbed his chest~
     area. -                stated she knew he ~as masturbating himself as she •
     prov~di ng t h e _massa~e ~ -                st~~    ~he b 7lieved he c~imaxed based
     on liis breathing . Bhe did not want to view either the climax or the
     {~ct that he was ~asturbating. -                - · ) stated once the breathing
     relaxed he got up and told her to get dressed. She was paid $300.00
     for her services.
               stated on the last time she went to provide a massage, she
     was notified by Sarah to come to the house and work.     •       stated
     she was now dating her current boyfriend and did not feel comfortable
     going. She recalled it was approximately January 2005. She sai d she
     went, already thinking that this would be the last time. She went
     upstairs and went into the master bathroom. She met with Epstein,
     who was wearing only a towel as he entered the room to lie on the
     tabl e . ~-r----~ stated Epstein caught her looking at the clock on
     several occasions. Epstein asked her if she was in a hurry.
     stated her boyfriend was in the car waiting for her . • • • • •, further
     stated that Epstein got upset, as she wasn t enjoyi ng the massage.
     She told him that she didn t want to continue and she would not be
     back. Epstein told her to leave as she was ruining his massage. I
     asked her if she had any contact with Epstei n s or anization she
     stated she received $200.00 from Western Union in                     nd
     Okeechobee Blvd as a Christmas gift.      ~      I    __ ___
                                                     advised she had no
     formal training in provide any massages .    •  ·   also stated she was
     sixteen years ol~ when she first went to Epstein s house .

     At approximately 4 : 22 pm, I made telephone contact with
     at_ _         She agreed to meet with me at a public place . I
     suggested she come to the police station for an interview.     - _ t did
     not want to meet at the police station. I recommended we meet at the
     Palm Beach Gardens Mall in the food court area. She agreed and an
     appointment was made for November 15, 2005 at 5:00 pm at the food
     court.

     Investigations Continue.

*************************** * NARRATIVE          # 20 *** ***********************
NA                        Reported By: SANDMAN, JENNIFER R.              11/16/05
                          Entered By.: ALTOMARO, NICKIE A.               11/17/05
          On 10/20/2005, I assisted executing a search warrant at 358 El
     Brillo Way in the Town of Palm Beach, Palm Beach County Florida under
     the direction of affiant Detective Joe Recarey .



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           Detective Melnichok and I searched the pantry room that is west
     next to the kitchen . This room had all white cabinets with a dark
     grey and black counter top. We did not find anything in this room.

         We searched the yellow and blue room that is west next to the
    pantry room. This room had a very large statue of man with a bow.
    Taken into evidence from this room were nine photographs in frames of
    various women.

         We searched the main entrance foyer that is to the north of the
    yellow and blue room. This room contained two bamboo chairs and
    ottomans with cushions. It also contained a round table with numerous
    books.

         We searched another       blue room that is west of the foyer. This
    room had a stereo system       and book shelves that were from the floor to
    the ceiling. Taken into        evidence from this room were eight
    photographs in frames of       various women and/or Epstein, the owner of
    the residence.

         We searched the room to the west of the blue room that has
    sliding glass doors that lead out to the pool. In this room in a
    dresser were two DVD's and two VCR tapes. These items were taken into
    evidence .

         We searched a 2004 black Chevy Suburban bearing Florida tag
    X99-EGL, registered to Jeffrey Epstein DOB 01/20/53, which was located
    on the east side of the driveway facing south. I found a Thrifty
    rental agreement between the passenger seat and the middle console.
    The name on the rental agreement was Johanna Sjoberg from 622 Holly
    Drive Palm Beach Gardens, Florida 33410. The phone number on the
    rental agreement was (561) 714-0546. The vehicle rented was a white
    2005 Chrysler Sebring bearing Florida tag W99-FUN. The vehicle was
    rented on 9/25/05 at 17:58 hours and was returned on 9/26/05 at 16:52
    hours . The last four numbers of the credit card used are 9821.
    Detective Melnichok found a piece of paper in the middle console that
    said I used the cash in here to fill up the tank and was signed by
    Johanna.

          I searched the 2005 black Cadillac Escalade ESV bearing Florida
     tag Q29-9GT, registered to Jeffrey Epstein dob 01/20/53, which was
     located on the west side of the driveway facing south. I did not find
     anything in this vehicle.

          All of the items that were taken into evidence were photographed
     in the place they were located and then turned over to crime scene.


****************************NARRATIVE         # 21 **************************
NA                     Reported By: RECAREY, JOSEPH                  11/17/05
                               Entered By.: ALTOMARO, NICKIE A.                                   11/17/05



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     On November 15, 2005, Det. Sandman and I traveled to
     Place in                           We met with •
     aeventeen - year old juvenile who was not in school this day due to a
     cold from which she was suffering.               - -. was told that I needed to
     speak with her in reference to an ongoing investigation involving a
     subject she would know as Jeffrey Epstein . Prior to speaking with
     her, I explained that because of the fact that she is a minor, I
     needed to speak with her parents orior to speaking with her. She
     telephoned her father, Mr.                     -, on his cell phone and
     explained to him
     I spoke with Mr.       Ithat   pet.
                                       Sandman and I were there to speak with her.
                              1■■ •~• on the telephone and informed him I needed
     to speak with his daughter in reference to an ongoing investigation.
     Mr. ■■■I - advised he had no problem with us speaking with his
     daughter .

     Durin~ a sworn taped statement               .      stated sh~. ..!!!.e t ~Jeff re~
     Epstein over a year ago. She was sixteen years of age and was
     approached by . -----., __ _.:_ __ who informed her that she could make monies
     providing a massage to Epstein for $200.00.                 ~- had informed her
     that she would have to provide this massage topless. -                          made the
     arrangements with Epst ein .           his assistants and took                ·    I
                                                                                        to the
     house.      _ ____ . stated            and she entered through a glass door
     that led into a kitchen.                 t ook her upstairs, to a master bedroom
     and master bathroom. She recalled the bathroom had a large pink
     couch, sauna and matching shower . Epstein entered into the room
     wearing only a towel.          _ _ _____ and -    · removed their clothing
     remaining only in t~ong underwear. She further stated that Epstein
     lay on his chest on the table. Epstein selected which oils to use for
     the massage. Both        I ·-  and              provided the massage on his
     legs, back and feet. Forty. minutes into the massage, Epstein t~rneg
     over o~to his back an<\_ requested .             wait downstairs in the kitchen
     area for -      -    · Epstein instructed              - -. to finish the mas s age .
     As     · got dressed,       ___ ----~ starting rubbing his c hest.
     left the room, and Epstein began masturbating himself as                               ~
     rubbed Epstein s chest.. -             - - stated he continued masturbating
     until he climaxed on the towel he was wearing. When asked if he had
     removed the towel she stated he t;urned the towel around so that the ,
     opening would allow him to expose himself . After he cleaned himself
     off with the towel, he instr u c ted -           . ,    the massage      was done and to
     get dressed and met wi t h h i m downstairs . U••• -~•• 1 got dressed and met
     with Epstein in the kitchen are a . She was paid $200 . 00 dollars for
     providing the massage.                - - stated she was aware t hat -               also
     received monies for the same thi ng.

   The second time she went to the house she wa s again approached by
  - - - -asked if she wanted to return to t he house to provide
  ~ e ; • • • • - ~greed and the arrangeme nts were made by
       · for her to return to the ho use.           • s tat ed - - drove her
   to the house and knocked on t he same glass door t hat leads to the
   kitchen area. They were allo wed e ntry into the hou se by one of the
   staff members. ~                upstairs to t he maste r bedroom and
   maste r bathroom area .. . . r ,e ft          this time to do the mas s age


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     alone. Epstein entered the room again wearing only a towel.
     began removing her clothing as she did the last time she was at the
     house. Epstein instructed her to get naked. He lay on the table on
     his stomach as           began massaging his legs and back.

     A~             finished with Epstein s back and legs, Epstein then turned
     o . ; ~ i s back.         I   - . ,_  -start:ea t:o rub nis chest and he began,
     masturbating himself : As               · - rubbed his chest, Epstein leaned
     over- and produced a massager/vibratol?'. He turned it on and began
     r\lbbing -   __ ____ .J. s vagina and masturbating himself at the same timet.
                stated she continued to rub his chest as this was occurring.
     She described the vibrator/massager as large, grey with a large head.
     Epstein rubbed her vagina for approximately two tq three minutes with
     the massager/vibrator. He then removed the vibrator from her vaginal
     area and concentrated on masturbating himself.                ______ __ stated he
     climaxed onto the towel again and informed her that the massage was
     done.          · - got dressed and met with -             · who was waiting in the
     kitchen area. She received $200.00 for the massage.                       · - said
     she never returned to the house and had no desire to return to the
     house.            ___ was asked if she received any formal massage
     training. She advised she had no formal training .                         _ was asked
     if Epstein knew her real age.            - -- ---- ~ stated he knew as he asked her
     questions about herself and hi h school. He was aware she attended
     and is still attending                               High School.
     The interview was concluded . I suggested          inform her parents
     of what occurred at the Epstein house.       · 7 stated she would tell
     her father as he was unaware this had occurred. I left my business
     card for any questions they may have. We left the area and returned
     to the police station. The tape was placed into evidence.
     Investigation Continues.

****************************NARRATIVE                  # 22 **************************
NA                              Reported By: RECAREY, JOSEPH                  11/17/05
                                Entered By.: ALTOMARO, NICKIE A.              11/17/05
     On November 15, 2005, Officer Munyan and I responded to the Palm Beach
     Gardens Mall food court section to meet with                  At       §
     approximately 5:10 p.m.,        arrived and mec wicn us c the food
     court.     ·   provided a sworn taped statement in which she stated
     she had been at the Epstein house over fifty times. She began going
     to Epstein's house when she turned eighteen years old ~          was
     asked if she knew of the on-going investigation.    __ ___ stated she
     was aware there was an investigation as she had been told by other
     girls that were interviewed. Additionally, she has had several
     telephone conversations with Epstein's assistants as to what had been
     going on during the investigation.

     I asked -      how she was introduced to Epstein.         stated she
     did not want to disclose who brought her to the house but she would
     respond to any other questions. When I asked her what happened at the


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     house,      I   stated everything happened. It all began with the
     massages. ~ach time ~he went more things happened. She would massage
     Epstein and he wou ld masturbate and climax. She stated things
     e~cal~~ed from there. S~ pr0vided oral sex on Epstein and he
     p'r ovided oral sex on her. She stated he would also use a
     m~-ssager/vibrat:0r on -her vagina to stimulate her as she massaged him.
     He introduced his assistant Nadia or Nada to have vaginal intercourse
     with     I · I  She stated Nada or Nadia would utilize a strap-on
     (synthetic penis) to have intercourse with her. She was told to
     masturbate herself as Epstein and Nada had sexual intercourse. All
     this was done at Epstein's direction .

     -        could ~    rovide exact dates as she had been to the house so
      many times . -      . stated Epstein inserted his fingers in her vagina •
    , ~o. stimulate her as she massaged him. When I asked her if there had
      been any vaginal intercourse with Epstein, she stated she did not have
      sex with him. She did admit having sex with Nada, his assistant.
              stated not every time she went involved sexual favors.
      Sometimes she would just talk with him and get paid . I asked her how
      much she was paid each time she went to Epstein s residence.
      stated she got paid $300.00 every time she went to the house. She was
      told t o bring other girls to him to provide massages .               declined
      stating that she does what she           does and
                                                      did not want to introduce
      anyone else to do what she does .i■■■ 1!1•11!1__ stated she had never received
      any formal training in providing massages.

         I showed -         a photo line up in which Nada Marcinkova was placed in
         position six. She reviewed the six photographs and immediately
         identified Nada Marcinkova as the person with whom she had
         intercourse. Additionally, it was the same person she watched have
         intercourse with Epstein. She signed the photo line-up under Nada
         Marcinkova s photo as the person she identified. We then left the
         mall and returned to the police station. The photo line up and tape
         were p l aced i n to evidence.
         Investigation Continues ...


****************************NARRATIVE        # 23 **************************
NA                    Reported By: RECAREY, JOSEPH                  11/29/05
                      Entered By.: ALTOMARO, NICKIE A.              12/01/05
         On November 17, 2005, I received a phone message from Atty . Guy
         Fronstin who advised to call his cellular phone reference his client
         Jeffrey Epstein . I telephoned his cell phone and left a message for
         him to return my call. I did not receive a call back on Thursday,
         November 17, 2005. On Friday, November 18 2005, I retrieved another
         voice mail from my work phone from Mr. Fronstin advising he would not
         produce his client Jeffrey Epstein for any statement. Fronstin stated
         he had spoken with ASA Lana Belohlavek and expressed Mr. Epstein has a
         passion for massages. I called ASA Lana Belohlavek and confirmed that
         Fronstin had telephoned her reference this case. Although nothing was


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     discussed, Mr. Fronstin did advise her that Epstein is very passionate
     about massages.

    I also spoke with ASA Daliah Weiss reference the previous employees,
    Juan and Maria Alessi. She advised that they had been served through
    a subpoena process server. They were both scheduled to appear on
    Monday November 21, 2005 at 12:00 p.m.
    On November 21, 2005, I met with ASA Weiss, Atty. Donnie Murrell and
    Juan and Maria Alessi at the State Attorney Office. ASA Weiss had
    requested a court reporter to be present to take the statement of the
    Alessi s. I spoke with Maria Ales~i, in the presence of her attorney,
    Donnie Murrell. Sh~ advised she had worked for Epstein for eight
    years, from the period of 1994 through 2002. She advised she had
    never had any direct conversations with him. She stated it was her
    husband who spoke directly with Epstein. Her work consisted of doing
    house cleaning, shopping and other preparations when Epstein would
    arrive in town. Alessi stated t~e preparations consisted of preparing
    the house and bathrooms for his a'r:tival. She advised she did view
    several masseuses that arrived -'at the house. She advised that two or
    three girls would come during 1 a day and provide the massages. The
    girls that arrived looked young in age . Mrs. Alessi did not know any
    of the girls personally and ~ere always different. She was told that
    when Epstein was in residence he did not~want to encounter the Alessis
    during his stay in Palm Beach.
    I then spoke with .Mr. Alessi in the presence of his attorney, Donnie
    Murrell . Mr . Alessi stated that he was employed for eleven years with
    Mr. Epstein. He originally was hired as a part time employee and then
    moved up into a full time position. His duties included everything.
    Alessi stated he was the house manager, driver and house maintenance
    person.   It was his responsibility to prepare the house for Epstein s
    arrival. When asked about cooks or assistants, Alessi stated they
    traveled with Epstein on his private plane . He remembered dealing
    with his girlfriend, Ms. Maxwell originally and then dealt with
    Epstein directly.

    I asked Mr. Alessi about massages that occurred within the home. Mr.
    Alessi stated Mr. Epstein had up to three massages a day. Each
    masseuse that visited the house was different. Alessi s t"ated that
    towards the end of his employment, the masseuses were younger and
    younger. When asked how young, Mr. Alessi stated they appeared to be
    sixteen or seventeen years of age at the most. The massages would
    occur in Epstein's bedroom or bathroom. There were times he recalled
    that he would set up the massage tables either in Epstein s bedroom or
    in his bathroom . I asked if there were things going on other than a
    massage. Alessi stated that there were times towards the end of his
    employment that he would have to wash off a massager/vibrator and a
    long rubber penis, which were in the sink after the massage.
    Additionally, he stated the bed would almost always have to be made
    after the massage. Alessi was never privy to what went on during the
    massages.


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     He was asked if he remembered any names of the girls that massaged
     Epstein. He tried to remember and was unable to provide any exact
     names of any girls. Alessi was asked about any contact with anyone
     from the Epstein organization. Alessi said he did speak with Mr.
     Epstein shortly after my initial contact with him to find out what was
     going on. Alessi also stated that approximately on November 11, 2005,
     he was contacted by a private investigator from the Law Office of Roy
     Black. The investigator had called him to meet with him to ascertain
     what he was going to tell the police. Alessi stated they met at the
     Carrabba s Restaurant in Boynton Beach and discussed the same
     questions I _ was asking him. I informed Mr . Alessi and Mr. Morrell
     that as this is an ongoing investigation and anything we discuss
     should be confidential. They both acknowledged the fact that the
     i nformation would be kept confidential. It should be noted that a
     court reporter was present during the interviews and would be
     providing a copy of the statements to me when they become available.

     On November 21, 2005, I received a voice mail from Mr. Fronstin who
     advised he would not be making Mr. Epstein available for any
     statements . He did have some words that he wanted to relay on behalf
     of Mr. Epstein. I telephoned his office and left a message for him to
     return my call .
     On November 29, 2005, I received a call back from Mr. Fronstin who
     left a voice mail after hours on November 28, 2005, advising he would
     return my call during normal business hours to speak with me reference
     the case on November 29, 2005.


****************************NARRATIVE                     # 24 **************************
NA                             Reported By: RECAREY, JOSEPH                                      11/29/05
                               Entered By . : ALTOMARO, NICKIE A.                                12/01/05
     On November 29, 2005, at approximately 2:30 p.m . I received a
     telephone call on the department issued cell phone. Mr. Fronstin
     stated he was calling to relay information that Mr. Epstein wished he
     could relay. Mr. Fronstin stated that he would not allow Mr . Epstein
     to speak with me at this time. He further stated that Mr. Epstein is
     very passionate about massages. He continued that Mr. Epstein had
     allegedly donated over $100,000 to the Ballet of Florida for massages.
     The massages are therapeutic and spiritually sound for him that is
     why he has had many massages. Mr . Fronstin stated he appreciated the
     way the investigation has not been leaked out into the media . I
     explained to Mr. Fronstin that it is as important to protect the
     innocent if the allegations are not substantiated. Mr. Fronstin was
     told of the allegations that the private investigators assigned to the
     case have been portraying themselves as police officers .
     Additionally, I explained that my cell phone had been called by the
     private investigators. Mr. Fronstin advi sed he was not aware of that
     and advised they were under t he direction of Attorney Roy Black in
     Miami. Mr . Fronsti n further s tated Epstein had originally called Mr.


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     Dershorwitz in Boston, who recommended Roy Black in Miami, who asked
     Mr. Fronstin to assist. I informed him that if and when any charges
     would be presented I would notify him. The call was then terminated.

       Investigation continues .


****************************NARRATIVE                       # 2 5 **************************
NA                                 Reported By: RECAREY, JOSEPH                     12/15/05
                                   Entered By . : ALTOMARO, NICKIE A.               12/16/05

       A review of the telephone message books, which were obtained during
       the search warrant, was conducted in which various messages from
       different dates were made to Jeffrey Epstein. The telephone message
       books have a duplicate copy {Carbon Copy) which, once a phone message
       is written into the book, the top copy is then torn on the perforated
       edge and the carbon copy is left in the book. First names of girls,
       dates and telephone numbers were on the copy of the messages .    I
       recognized various numbers and names of girls that had already been
       interviewed. The body of the messages was time of the day that they
       called for confirmation of " work." Other names and telephone numbers
       were located in which the body of the messages were, " J:JlaY-e girls for                           _
       him" 9;:- " I have 2 girls for him ." These messages were taken by Sarah
       for Jeffrey Epstein. Based on the context of the body of the
       messages, I requested subpoenas for subscriber information on the
       telephone numbers and the time frame involved. Copies of the messages
       were made for evidentiary purposes.

       I obtained                  High School yearbooks for 2005, 2004 and
       2003.  I first reviewed the 2005 yearbook and located most of the
       girls I had spoken with. Additionally, I locate
       Based on the corrected name spelling, I was able to
       residence in Loxahatchee. On December 8, 2005, Det . Caristo and I
       responded to             in Loxahatchee. I located. - ·           . at
       her home. She advised she is attendi ng                    igh and is
       participating in the early release program so she can maintain her
       part time job. As she i s still a minor , I left my business card to
       have her mother return my call to request an interview with her
       daughter. We then left the area.

       I also had previously researched the telephone number for "Tatum" and
       telephone number 561 - 640 - 7912. A subpoena had been issued for the
       information on 561-640-7912. The telephone number was registered to
       Scott Miller of 1558 Velvet Place E. A query of Tatum Miller revealed
       that she is the daughter of Scott Miller and is currently residing at
       4938 21 Road North in West Palm Beach. Det. Caristo and I attempted
       contact with Mi ller with negative results . I left my business card on
       her front door requesting she return my call . We then responded to
       1558 Velvet Place E in West Palm Beach. I also attempted contact with
       Mr . Miller with negative results . I left my business card for him to
       return my call.



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     On December 9 2005, I received a telephone call from -
     investigation in Palm Beach. ■             ..
                            mother, who was made aware of the on going
                                                 advised she was told of
     everything that occurred at Epstein's house involving Epstein and his
     staff . She advised she would allow me to question her daughter about
     what occurred and would cooperate with the investigation.
     provided me with                ellular telephone number to schedule an
     appointment for an official interview. I telephoned her cellular
     telephone and made a tentative appointment for Monday, December 12,
     2005.
       I then received a telephone call from                father of
              , who stated he found the business card on his door. I
       explained that I was conducting an investigation and needed to speak
       with -      as s h ~ information that could assist in the
       investigation. - - - - stated that his daughter no longer resides
       with him and has her own trailer in another trailer park. He advised
       he would tell her to call me.
       On December 12, 2005, due to a conflict with schedules, arrangements
       were made to meet with ■                  on Tuesday, December 13, 2005
       at 5 : 00 pm. On December 13, 2005, Det. Dawson and I traveled to
       Loxahatchee and met with           .   ___ . D~ ng a sworn taped
       statement, - -stated that when she was7 ixteen years old ,t she was
       taken to Epstein's house to provide a massage for money .
       stated it was be.fore Christmas last yea r when      -   -           roached
       her and asked if she needed to make money for Christmas;               stated
       she did and agreed to...,erovide a massage for money. -         made
       arrangements to take • - to the house and drove                 to the house
       to "work ." -        stated she could not remember the street name but
       would be able to drive to the street. They drove to the last house on
       the street and pulled in the last house on left s ide . They walked up
       the driv eway and entered through a side gate which led to a kitchen
       door. They knocked on the door and were encountered by an employee
       who - ·      described as a "Spanish looking lady." They informed her
       that they were e x p e c t e d ~ were then encountered by a white female
       with long blond hair . - - was unable to remember the name of the
       white female with blond hair but knew she was Epstein's assistant .
       She was led upstairs by the white female who explained that there
       would be lotions out already and Epstein would choose the lotion he
       wanted her to use. She was led through a spiral staircase which led
       to a master bedroom and bathroom . The massage table was already set
       up in the bathroom.           described the bathroom as a large spacious
       bathroom with a steam room and shower beside it with a sink to the
       right           . was introduced to Jeff who was on the phone when she
       entered . Jeff was wear ing a white towel and lay on his stomach so
       that          may massage his feet and calves.     ·       started the
       massage with the massage oil Jeff chose and rubbed his feet and
       calves. Jeff got off t he phone and requested she massage his back as
       well. -          began rubbing his back and got to the small of his back .
       During the rubbing of his back Jeff asked her to get comfortable. He
       requested she remove her pants and shirt. -            removed her shirt


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     and pulled her pants off.        · ___ __ stayed in her bra and thong panties.
       As she fin i shed the small of· the back , Jeff then turned onto his
     back. He; ~nstruc~~d she rub his chest and p i nch his n i pples. As she
     began to rtib his chest, Jeff asked her questions about herself .
       · · · remembered telling h im s h e attended                         igh
     School . Jeff asked her if she was sexually active . Before - ·
     could answer, he also asked what sexual positions does she enjoy .
     _ _ ___ __ stated she was shy didn't li~e talking about those things. She
     c i~tinued rubbing his chest. Epstein reached up and unsnapped her bra
     from the front. - ·       __ explained the bra she used had a front            ~
     snapping_device . Ep~i a ~ ubbed her breasts and asked her if she like
     having her breasts r,ubbed.                saip. "nq,, I don't like that."
     E~stei:nthen removed h i s towel and l ay on the bed naked exposing his ◄
     peni s to_         : . H~   g~ touching his pents and masturbated as he ,
     touched her breasts.         ·    explained Jeff then touched her vagina
     area by rubbing her vagi na with his fingers on the outside of her j
     thong panties. •- ~         tensed up and stated Jeff was aware that she
     was ··uncomfortable.

               stated that Jeff told her, "Relax, I ' m not going inside." She
     further explained Jeff commented to her how beautiful and sexy she
     was. Jet t..,_~ n mo~ed h ~r thon_g p.e11tif t~- to one §..ide. and now ~as      ?
     st:r:eki-ng he~ cli,,.t0J;j~ .   · ,,,. _ s.aip ".::feff commented how hard my clit
     was." He- t hen•:l!': tnserted two fingers 'in her vagina and was stroking he\:-
     wi thin her vagin! . She tried pulling back to pull out his fingers
     from within her vagina . Jeff removed his fingers from within her
     vagina and apologized for putting his fingers inside her . During this
     time he kept his hand on her vagina area rubbing her vagina.                  ·  _1 _
     stated he rubbed her real hard as he was masturbating. ~ ·                    said he
     climaxed onto the towel he had been previously wearing and got up from
     the table. Jeff told her there was $200.00 dollars for her on the
     dresser within the master bathroom . Jeff also told her that there was
     an additional $100.00 that was to be given to - _                  for bringing her
     there to massage him. Jeff told her to leave her telephone number
     with his assistant as he wanted to see her again. Jeff stated his
     assistant would contact her to work again soon.

     I asked her if she ever received any formal massage training to which
       ·    stated she did not. :....~--- - stated it was the only time she
     ever went to work for Jeff and knew what happened to her was wrong.
     She stated she no longer speaks to .         because she was upset that
                                                        4
                                                            _


     -
         4
           took her there. She further stated that she had never been
     contacted for any additional work. The interview was terminated and
     we left the area.

     Investigation Continues ...


****************************NARRATIVE        # 26 **************************
NA                    Reported By: DICKS, ALLEN C .                 12/18/05
                      Entered By.: ALTOMARO, NICKIE A.              12/19/05



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Case No.       : 1-05-000368                                    (Continued)
          On 102005 at approx 0930hrs I assisted with the execution of a
     search warrant at 358 El Brillo Ave, Palm Beach.

          Initially I was assigned to enter the residence and conduct a
     sweep of the premises for safety purposes. I then accompanied CSEU
     tech Pavlik while she photographed the exterior of the house. Once
     this was complete I was assigned to search certain areas of the house
     with Det. Dawson as part of the search warrant.

          We began in the garage, searching three Mercedes Benz vehicles, a
     Harley Davidson motorcycle and adjacent closets in the garage.
     Nothing of evidentiary value was located.

          We then searched two closets off the kitchen area on the east
     side. These can best be described as pantry or storage closets.
     Nothing of evidentiary value was obtained.

          A small office with adjoining bath was then searched. In the bath
     area I located a phone message book with recent messages. This item
     was seized as evidence. Please note this bath and shower area are not
     used as designed but are storage areas containing a variety of items
     to include a gun safe in the shower and assorted household items.

          We then searched a bath area and closet at the base of the main
     stairs in the foyer.  Inside the closet two massage tables were
     located as well as partial nude female photographs. These items were
     later seized as evidence. Nothing of evidentiary value was noted in
     the bathroom.

          We then searched two bedrooms upstairs on the east side of the
     residence. Located in the bath room of the south bedroom was penis
     shaped soap. Located in the bedroom of the nor thern bedroom was penis
     and vagina shaped soap as well as an adult sex toy. These items were
     seized as evidence.

          We then searched the pool cabana located in the south west corner
     of the property. Several photographs of nude females were seized as
     evidence .

          I was then assigned to stand by with a person I believe was
     Douglas Schoettle. Mr. Schoettle was in the residence at the
     beginning of the search warrant. He was present during the warrant
     service and subsequent search. I stood by with him until the search
     was completed and I departed the residence. I had no conversation
     with him regarding the reason for our presence.

          Regarding seized evidence, all items were photographed in place
     and then collected by CSEU personnel.
             This concludes my involvement in this case.




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****************************NARRATIVE             # 27 **************************
NA                         Reported By: KRAUEL, CURTIS D.                12/21/05
                           Entered By.: ALTOMARO, NICKIE A.              12/21/05
     On Thursday, October 20, 2005 at approximately 0936 hours, I assisted
     in the execution of a search warrant located at 358 El Brillo Way,
     Palm Beach, Florida, residence of Jeffrey Epstein. I was instructed
     by Case Agent Det. Joseph Recarey, to secure all computer and media
     related material from the residence.

     Upon my arrival I was directed by Det. Recarey to a room designated as
     the Kitchen Staff Office.   I observed a, Silver in color , CPU with the
     left side cover removed, exposing the CPUs hardware sitting on floor
     next to a glass type desk . The CPU had no discernable identifiers or
     features indicating a make or model. This CPU was powered off with
     the power cord not plugged in. The keyboard and mouse were atop the
     CPU. It should be noted that the CPU was not connected to a monitor,
     printer, or other media device . On the back Panel of the CPU, I
     observed an A/V card with RCA jacks attached. This type of hardware
     would allow audio and video to be downloaded onto the CPUs hard disk.
      The ends of the RCA jacks were unattached at the time of the search
     and no external camera was located within this room.

     The CPU was located on the right side of a desk that held a flat panel
     LCD screen. The desk also held another keyboard and mouse, indicative
     of a second computer; however, no other computer was found.  It
     appeared as though a second computer had been recently removed as the
     cables ends from the monitor, keyboard and mouse were in the same
     area. A further search of the room revealed no media storage devices,
     i.e. CDs, Floppy Disks, Zip Disks, etc. This type of media is
     commonly stored in an area where computers are placed, yet no media
     was found.

     After completing a search of this room, I secured the CPU and turned
     all items over to the Evidence Custodian for future forensic analysis
     via a property receipt.

     I was then directed by Det. Recarey to a room designated as the Garden
     Room, where I observed a wooden desk facing west. The desk held a
     flat screen LCD monitor, keyboard, mouse, media card reader and
     printer; however, no CPU was located. All of the cables were removed
     from an area where a computer had once been. A search of the desk
     area revealed no signs of any media devices .

     Det. Recarey directed me to a third location designated as the Cabana
     room, which is detached from the residence and located just south of
     the pool.  In the South East corner of the room, I observed an office
     type setting, with an L- shaped desk holding a flat screen LCD monitor,
     keyboard, mouse and printer; however, no CPU was located. All of the
     cables were removed from an area where a computer had once been. A
     search of the desk area revealed no signs of any media devices.



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Case No . . . . : 1-05 - 000368                                 (Continued)
     Det. Recarey directed me to a second detached structure located on the
     South East corner of the property. This area of this structure was
     assigned with single letters to identify a particular part of the
     room . In the office area, designated as Room B, I observed a powered
     on Dell Dimension 2350, attached to an LCD flat panel monitor. The
     screen displayed an open Microsoft Internet Explorer browser with URL
     address of http://home.bellsouth.net/. I observed no other active
     windows in the Start panel window and photographed screen. The power
     cord was removed from the back of the Dell CPU and I disconnected the
     cable modem to prevent remote access. At that time, the Dell CPU,
     marked with Serial Number 6WTVN21, was secured and turned over the
     evidence custodian fo~ future forensic analysis via property receipt.
      I also located several media related items within Room B, which were
     recorded onto a property receipt and turned over the Evidence
     Custodians.

     I then responded to a Bedroom designated as Room F, where I observed a
     white in color CPU marked Premio. The Premio CPU was in a computer
     desk which held a white CRT monitor, both of which were powered on .
     The CRT monitor displayed a message from Norton Antivirus software,
     warning of an expired subscription. I observed no other active
     windows in the Start panel window and photographed screen.  I removed
     the power cable from the back of the Premio CPU and shutdown all other
     media. The Premio CPU, marked with Serial Number 2000091078, was
     secured and turned over the evidence custodian for future forensic
     analysis via property receipt. I also located several media related
     items within Room F, which were recorded onto a property receipt and
     turned over the Evidence Custodians.

     This concluded my participation in the search of the residence.


****************************NARRATIVE                # 28 **************************
NA                            Reported By: RECAREY, JOSEPH                  12/21/05
                              Entered By.: ALTOMARO, NICKIE A.              12/21/05
     On December 20, 2005, I contacted ASA Daliah Weiss in an attempt to
     subpoena the Epstein former houseman, Alfredo Rodriguez. Rodriguez,
     who resides in Miami, had eluded the process servers previously and
     was not served the investigative subpoena . A telephone message was
     left as she is not available during the week of 12/19/2005. I made
     contact with State Attorney Inv Theresa Wyatt and requested the same
     via telephone message .

     I then researched the victim ' s ~  ellular telephone subpoena data
     which had been received from a previous subpoena request.   I analyzed
     the records which depict several calls from Haley Robson . The
     telephone calls start on February 6, 2005 at 12:49 pm.; the same day
     which the victim and the victim's father stated the incident occurred
     at Epstein s house. The first incoming call was from Robson's
     residence at 561 333 - 0180. The second incoming call from Robson's
     cellular phone 561-308-0282 occurred at 1:02 pm. The call durations


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     were one minute or less. The time frame was within thirteen minutes
     apart . It should be noted that Robson s residence was in close
     proximity to the victim ' s. The next call occurred at 5:50 pm when the
     victim telephoned Robson s residence. Several calls were made after
     the above mentioned calls both incoming and outgoing to Robson.
     Further analysis showed no telephone calls to either Robson s cellular
     telephone or Robson's residence were registered prior to February 6,
     2005 .

     Additionally, I also conducted an analysis on the telephone calls from
     305- 710-5165. The subscriber information confirmed that the number is
     registered to Paul A Lavery from Hialeah, Flori da . The address was
     crossed referenced to the Office of Kiraly and Riley Private
     Investigators. I researched the web page www.rileykiraly.com which
     also showed various cases in which they assisted. I also located
     another web site under www.coralspringssparklandrotary.org in which
     Mr. Riley attended a Miami Rotary meeting and confirmed Atty. Roy
     Black is among his clientele.

     The telephone calls revealed Lavery had telephone contact with
      · - :, -         ' ' and - _ · · - · · either just after I attempted to
     interview them, or just prior . A background was conducted on Lavery
     which revealed he holds a current Private Investigator License. A
     criminal arrest record revealed he had been previously arrested for
     possession of cocaine and solicitation of prostitution.

     I also researched the girls using www . myspace.com. This web site is a
     new social networking service that allows members to create unique
     personal profiles online in order to find and communicate with old and
     new friends. The site allows one to establish your own myspace.com
     page and decorate the page any way one wishes. I found the following
     people have myspace sites : Haley Robson, · .. ___         ,_, · _________ ___ ,
     _ __ __ _ _ _, _                                , , YL, : _ ·- ..       , and
     MD.

     I received a Cingular Wireless packet which contained a CD which
     contained the results of t he subpoena request for verbatim calls on
     917-855 - 3363. An analysis will be conducted in the near future on the
     phone numbers called .

     Investigation Continues.


****************************NARRATIVE                     # 29 **************************
NA                               Reported By: RECAREY, JOSEPH                    12/27/05
                                 Entered By . : ALTOMARO, NICKIE A.              12/29/05

     Upon doing research on the message books recovered in the search
     warrant, I located the identity of .. -     ." The telephone number
     561- ~- -    was registered to<         .. _ _    She currently is
     seventeen years old and is attending the Palm Beach Mall Academy.   I
     responded to 1801 Palm Beach Lakes Boulevard, also known as the Palm


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     Beach Mall. I located the Simon Youth Foundation. I located -
              inside the foundation and informed her that I was
     investigating a case against Jeffrey Epstein and knew she had been at
     the house.          , started to cry and advised she had put that part
     of her life behind her. I explained that although she is seventeen
     years old I needed to inform her parents that she would be
     interviewed. She provided her home telephone number. I attempted
     contact and left voice mail messages at the house to speak with her
     parents.

      Det. Caristo and I then located ~atum Miller a_.,t her residence located
      at 4938 2 1 Road in West Palm Beacb. I attempted to interview her
      about Jeffrey Epstein. She advised she is so in love with Jeff 1
      Epstein and would do anything for him. She further explained that she
      would not speak with us about him either negative or positive. She
      asked us to leave her property. I informed her that although she did
      not wish to speak with us, I had suffi cient information at this point
      in the investigation to know she was at Epstein's house and provided
      girls to Epstein to work. I also explained that prior to our arrival
      at her residence I had telephone contact with her father, Scott
      Miller, who was told she would be interviewed. Tatum Miller is
      currently seyenteen y~ars_old t and as a juvenile, parental notification
      wou-icibe required. We then ~eft the area and returned to the police
      station.

      While at the police station, I left another telephone message for
          ~    ~   parents. I began an analysis of Sarah Kellen's Cel lular
      telephone. The telephone number 917-855-3363 is assigned to Sarah
      Kel l e n and the financially responsible party is Jeffrey Epstein of 457
      Madison Ave . in New York City, New York. The time frame which was
      subpoenaed was September 2005 , through October 2005. There were
      eighty seven pages of calls made either to the cell phone or from the
      cell phone. The local (561) numbers were analyzed. A spread sheet
      was prepared and placed into the attachment file of who was called.
      The unknown numbers were researched using FoneFinder.com and subpoenas
      were requested to determine subscriber information. This was done to
      identify additional victims or witnesses. The analysis revealed that
      Kellen had called the victim/witnesses frequently when Epstein was in
      the Town of Palm Beach to 11 work. 11 This confirms what the girls
      interviewed had previously stated. Kellen would notify them when
      Epstein was in town and t heir willingness to 11 work. 11 The CD was placed
      into evidence.

       Investigation Continues.

****************************NARRATIVE                     # 30 **************************
NA                                Reported By: RECAREY, JOSEPH                    1/03/06
                                  Entered By .: ALTOMARO, NICKIE A.               1/03/06
      On December 29 , 2005 , I received a facsimile from National Compliance
      Center from Cingular Wireless for telephone number 561-308-0282. This


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     was the tele~     e number for Haley Robson d uring the time frame when
     the victim, ~      as brought to the Epstei n house to "work. "   An
     analysi s of the phone records, of all incoming and ou~ng calls,
     s h owed that on February 6, 2005, the day t he v i cti m, ~  as brought
     to the house, Robson first called Sarah Kellen, Epstein's assistant,
     at 917-855-3363at 12:50 pm (EST) . The next call was made to Epstein ' s
     house in Palm Beach, at 12 : 52 pm (EST) . The fol lowing call was made
     to the victim, ~      t 1:01 pm (EST) and at 1:02 pm (EST). This
     confirms the information provided by the victi m and victim ' s father.
     I photo copi ed the records and enl arged the page 8 of 10 to show the
     call s made by Robson on February 6 , 2005.
     To this date, I have not heard from                               parents.  I
     will attempt to establish contact wit t em uring the evening hours.
      I received a package from Atty . Guy Fronstin, which was hand
     delivered at the police station . Withi n t h e package, was a letter
     from Alan Dershowitz , and two www .myspace.com profiles. The profil es
     were that of - -    ·       . and ___ · - - ~ __ . __ . MySpace . com is a soci al
     networking service that allows members to create unique personal
     profiles onl ine in order to find and communicate with old and new
     friends . This package was in response to a previous meeting in which
     Mr. Dershowitz called to assist in the investigation in providing any
     additional witnesses such as house employees who have been reluctant
     to speak with law enforcement .

     I revi ewed the profiles Mr. Dershowitz enclosed. - ~
     her b l og to be .    .   .    -        still attends - - - -
     High School , sends and receives messages from friends which contain
     some profanity. Upon reviewing her friends ' comments section from
     Myspace , most of her good friends sent messages to establish contact
     and invite her to go out.

     I then reviewed                    web b l og which was provided by Mr.
     Dershowitz. Ms . -- - - designed her blog to be " PimpJuice. 11 Her blog
     states that her interests include music, theater and weed (Marijuana).
     I reviewed her packet in which L      declares her love for her live- in
     boyfriend. She also describes using marijuana with her boyfriend Will
     Tucker.

     The letter Mr . Dershowitz sent advised he was looking into the
     allegation that one of the private investigators used by the private
     attorneys of Epstein, attempted to impersonate or state that they were
     police officers from Palm Beach.r .~   Der   w'tz advised that the
     investigators used to interview .               had "quite a distinct
     speech impediment", did not claim to e nor did they impersonate
     themselves as a police officer. This package was sent to both ASA
     Lana Belohlavic and ASA Daliah Weiss at the State Attorney's Office .

     I made telephone contact with ASA Weiss to confirm she received the
     package and request an interview wit h Sarah Kellen, Nada Marcinkova,
     and Janusz Banasiak. She advised she would assist in attempting to
     contact Mr. Dershowitz.


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     On January 3, 2006, I received a telephone call from ASA Weiss who
     informed me that she made telephone contact with Mr. Dershowitz . She
     had requested the employees be available the week of January 3, 2006.
     Mr. Dershowitz informed her that the assistants are out of the
     country and would require additional time to locate them and make them
     available.
     Investigation Continues.

****************************NARRATIVE        # 31 **************************
NA                    Reported By: MINOT, LORIS.                     1/03/06
                      Entered By.: ALTOMARO, NICKIE A.               1/03/06

     On Thursday, 03/31/05, I started conducting surveillance at 358 El
     Brillo. At this point I observed at 1155 hours, a Tan Altima bearing
     FL tag A303AN in Roadway, Black SL bearing FL tag V55RFW in drive, Tan
     Honda Civic bearing FL tag X98APM in Roadway, Black Chevy Suburban in
     driveway and a Black Caddy Escalade in driveway. At 1325 Hours I
     observed Tan Honda Civic X98APM in roadway, Black Chevy Suburban in
     driveway, Black Caddy Escalade in drive and a White Kia car bearing FL
     tag D651BQ. At 1615 hours I observed a Tan Honda Civic, X98APM in
     roadway, Black Chevy Suburban in drive, Black Caddy Escalade in
     driveway and a White Kia car D651BQ in roadway.

     On Friday, 04/01/05, I continued surveillance at 358 El Brillo. At
     1130 hours I observed a Tan Honda Civic bearing FL tag X98APM in
     roadway, Black Caddy Escalade in driveway and a Tan unknown make/model
     bearing FL tag A303AN in roadway. At 1227 hours, I observed a Tan
     Honda Civic X98APM in roadway, Black Caddy Escalade in driveway and a
     Black Chevy SUV located behind the Escalade. At 1345 hours, I
     observed a Tan Honda Civic X98APM in roadway and a Black Chevy SUV in
     driveway. At 1558 hours, I observed a Tan Honda Civic X98APM in
     roadway, Black Chevy SUV in driveway, Black Caddy Escalade in driveway
     and a dark unknown model/make car parked in garage .
     On Saturday, 04/02/05, I continued surveillance at 358 El Brillo. At
     0713 hours, I observed a Red Explorer bearing FL tag J98JEI in roadway
     and a Black Caddy Escalade in driveway. At 0814 hours, I observed a
     Red Explorer J98JEI in roadway, Black Caddy Escalade in driveway and a
     Tan Honda Civic X98APM. At 0952 hours, I observed a Red Explorer
     J98JEI in roadway, Black Caddy Escalade in driveway, Tan Honda Civic
     X98APM in roadway and also a Grey unknown make/model with a B.M in
     trunk retrieving landscaping tools.

     At 1155 hours, I observed a Grey Camara bearing FL tag X88EFF, parking
     in the roadway in front of 358 El Brillo. A W/F, blond hair, teens to
     early 20's, thin and tall wearing a white tank top and short blue jean
     shorts, exited the vehicle and walked to the rear of the house. I
     also observed a Red Explorer J98JEI in roadway, Tan Honda Civic X98APM
     in roadway and a Black Caddy Escalade in driveway. At 1310 hours, I
     observed a Red Explorer W/F driver leaving the area, Tan subcompact on


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     roadway and a Red Neon bearing FL tag Jl0GRV. Then observed 3 W/Fs,
     approximately 16 to 18 years of age jogging. All 3 females ran into
     the driveway. There were 2 with blond hair and one brown hair.
    On Sunday, 04/03/05, I continued surveillance at 358 El Brillo. At
    0719 hours I observed a Tan Honda Civic X98APM in roadway and a Black
    Caddy Escalade. At 0934 hours, I observed a Tan Honda Civic X98APM in
    roadway and a Black Caddy Escalade in driveway. At 1057 hours I
    observed only the Tan Honda Civic X98APM.

    On Tuesday, 04/05/05, I continued surveillance at 358 El Brillo. At
    1052 hours, I observed a Red Explorer J98JEI in roadway, a Green
    Explorer, bearing FL tag F91KAK in roadway, a Grey Altima bearing FL
    tag A303AN in roadway, White Ford Truck H58LRA in roadway, Black
    Mercedes in driveway being washed by a B/M and an unknown dark car
    parked in the garage. At 1059 hours a Blue Chevy Suburban drove to
    the house of 358 El Brillo and parked in the driveway. At 1119 hours,
    I observed the White Fort Truck H58LRA leave the area and the drive
    was the pool man.

    At 1126 hours, I observed a Grey unknown make/model car park in
    roadway. W/M got out of the car and walked to a house on the south
    side of El Brillo. At 1406 hours, I observed a Red Explorer parked on
    roadway and a large white box truck parked behind the surveillance
    suburban.


****************************NARRATIVE        # 32 **************************
NA                    Reported By: BATES, MICHAEL J.                 1/03/06
                      Entered By.: ALTOMARO, NICKIE A.               1/03/06
    On 03/31/05, at approximately 1500 hours while conducting surveillance
    at 358 El Brillo, I observed a Black Cadillac Escalade, unknown tag, a
    Black Chevrolet Suburban, unknown tag, a Black Mercedes S600 FL tag
    U90BQL parked in the east driveway next to the 3-car garage. There
    was a Tan Honda Civic FL tag X98APM parked on the street in front of
    the residence.

    At approximately 1700 hours, I observed the Black Suburban, Black
    Escalade, Black Mercedes and Tan Honda Civic parked in the same place.
    At 1750 hours, there was no change in vehicles . At 1840 hours, I
    observed the Black Escalade, Black Suburban and Black Mercedes along
    with a Silver Hyundai Accent FL tag A136AN all parked in the east
    driveway and a Red Ford Explorer FL tag J98JEI parked on the street in
    front of the residence.

     At 2000 hours, I observed the Black Escalade, Black Suburban parked in
     the ease driveway and the Red Explorer and Tan Civic parked on the
     street.
     On Friday, 04/01/05 at approximately 1700 hours, I observed the Black
     Escalade and Black Suburban parked in the east driveway and the Tan


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